      Case 4:19-cv-00940-A Document 28 Filed 04/28/20                 Page 1 of 2 PageID 231



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

RUSSELL SMITH                                      §
                                                   §           CIVIL ACTION NO.
vs.                                                §           4:19-CV-00940-A
                                                   §
BLAS A. HERNANDEZ, et al                           §

                                AGREED MOTION TO DISMISS

TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES Plaintiff Russell Smith (hereinafter “Plaintiff”), and Defendants Blas A.

Hernandez and the City of Southlake (hereinafter “Defendants”) by and through their attorneys of

record (hereinafter collectively “Parties”) and would show this Court as follows:

                                                   1.

         The Parties have resolved all claims each may have against the other. The fact that the

claims have been resolved is not an admission of liability on the part of the Defendants, but is

expressly made in order to buy peace and avoid the cost, uncertainty, and expense of litigation and

appeals. On April 1, 2020, the Court entered a Final Judgment dismissing all claims against City

of Southlake (Doc. 26), and Plaintiff hereby states Plaintiff will not appeal such Judgment. The

fact that the claims have been resolved is not an admission by Plaintiff that his claims were not

valid, or that any claim or defense of Defendants against Plaintiff was valid, or an admission by

Plaintiff that his suit was groundless as alleged by the Defendants.

                                                   2.

         It is the intent of the Parties to allow a final dismissal of all claims each may have against

the other which are asserted in this lawsuit or which directly arose from the events that were the

basis of the lawsuit. In view of the April 1, 2020 Final Judgment dismissing City of Southlake

(Doc. 26), the final dismissal which will conclude this lawsuit may be accomplished by an Agreed
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AGREED MOTION TO DISMISS – Page 1
   Case 4:19-cv-00940-A Document 28 Filed 04/28/20               Page 2 of 2 PageID 232



Order of Dismissal which applies only to Plaintiff Smith and Defendant Hernandez.

                                               3.

       Each Party to this lawsuit by and through their attorney of record requests that the Court

sign the proposed Agreed Order Granting Dismissal with Prejudice, which is presented to the Court

concurrently with this Motion.

       WHEREFORE, PREMISES CONSIDERED, the parties request that the Court grant the

relief sought herein.

 Respectfully submitted,                      Respectfully submitted,

 By: __/s/Scott H. Palmer__                   By: __/s/James T. Jeffrey, Jr.___
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AGREED MOTION TO DISMISS – Page 2
